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                            UNITED STATES COURT OF APPEALS
                                       FOR THE
                                    SECOND CIRCUIT
                                               _________________

              At a Stated Term of the United States Court of Appeals for the Second Circuit, held at the
      Thurgood Marshall United States Courthouse, 40 Foley Square, in the City of New York, on the
      16th day of July, two thousand and eighteen.

      Before:     Gerard E. Lynch,
                  Susan L. Carney,
                         Circuit Judges,
                  Alvin K. Hellerstein,*
                         District Judge.
      ______________________________

       Cody A. Kimball,
                                                                    STATEMENT OF COSTS
                    Plaintiff - Appellant,
                                                                    Docket No. 16-3264
       V.

       Village of Painted Post, Todd Kimmey, Officer,
       Mayor Franklin, John & Jane Does, Donald Yost,
       Robert Halm, in his individual and official capacities
       as Chief of Police,

                 Defendants - Appellees.
      ________________________________


            IT IS HEREBY ORDERED that costs are taxed in favor of Appellee Donald Yost in the
      amount of $380.80.



                                                           For the Court:
                                                           Catherine O’Hagan Wolfe,
                                                           Clerk of Court




      _______________
      *Judge Alvin K. Hellerstein, of the United States District Court for the Southern District of New
      York, sitting by designation.




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